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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
UNITED STATES OF AMERICA

05X 70840

 

Criminal No. 03-80810
v. Honorable Gerald E, Rosen
D-1 AHMAD MUSA JEBRIL,
D-2 MUSA ABDALLAH JEBRIL
Defendants. o
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en 8
SUBHIEH JEBRIL’S PETIVIONTO S33 4 {7
ADJUDICATE THE VALIDITY OF (74 4,
HER INTEREST IN ese =
12000 SANFORD, DETROIT, MICHIGAN" &.

z

NOW COMES Petitioner, Subhieh Jebril, by and through her attorney, Jorin G. Rubin the
following:

1, I am the wife of Musa Abdallah Jebril. We were married in 1964 and are still
matried to this day .

2. On or about March 29, 1991, my husband purchased the property located at

12000 Santord, Detroit, Michigan (hereinafter the “subject property”) on a land contract
3.

My interest in the subject property is based on the fact that I have a dower
interest in the subject property, pursuant to MCL 558.1

4.

I do not know of any acts conducted by the Defendants that would give rise to the
forfeiture of the subject property.

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Based on my legal interest in the subject property, the property cannot be forfeited
to the government.

 

 
   

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6. Pursuant to 21 U.S.C, §853(n)(6)(A}, [have a right, tithe and/or interest
recognized by law that is superior to that of the Defendants at the time the alleged commission of
the acts occurred which gave rise to this forfeiture.

WHEREFORE, Petitioner, Subheth Jebril, seeks to have her ownership interest in the
subject property adjudicated by the Courts and have the forfefture action against this property
dismissed in its entirety.

I declare, under penalty of perjury, that the facts contained in this Petition are true to the best of

my ability and information.
3 id
Subheih Jebril

Subscribed and swom to before me on

this 2 day or A}eag her 2005,

bla fee
Public, #6 jp4 Count
My commission expires ‘F=tunff

Coes Ape Respectfully submitted,

    

. (P60867)
Law Office of Jorin G. Rubin, PC
Attomey for Plaintiff

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(248) 799-9100
Dated: March 3, 2005

 

 
